                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


 STATE OF CALIFORNIA; STATE OF
 NEVADA; COMMONWEALTH OF
 MASSACHUSETTS; STATE OF
 ARIZONA; STATE OF COLORADO;
 STATE OF CONNECTICUT; STATE OF
 DELAWARE; STATE OF HAWAII; STATE
 OF ILLINOIS; STATE OF MAINE; STATE
 OF MARYLAND; PEOPLE OF THE
 STATE OF MICHIGAN; STATE OF                             Case No. 1:25-cv-10810
 MINNESOTA; STATE OF NEW JERSEY;
 STATE OF NEW MEXICO; STATE OF
 NEW YORK; STATE OF RHODE ISLAND;
 STATE OF VERMONT; STATE OF
 WISCONSIN,

                              Plaintiffs,

 v.

 DONALD J. TRUMP, in his official capacity
 as President of the United States; PAMELA
 BONDI, in her official capacity as Attorney
 General of the United States; UNITED
 STATES ELECTION ASSISTANCE
 COMMISSION; DONALD L. PALMER, in
 his official capacity as Chairman of the U.S.
 Election Assistance Commission; THOMAS
 HICKS, in his official capacity as Vice Chair
 of the U.S. Election Assistance Commission;
 CHRISTY McCORMICK and BENJAMIN
 W. HOVLAND, in their official capacities as
 Commissioners of the U.S. Election
 Assistance Commission; PETE HEGSETH,
 in his official capacity as Secretary of
 Defense,
                              Defendants.


            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
       1.     The President’s constitutional role in elections is limited to competing in them

and enforcing election laws enacted by Congress. Nonetheless, on March 25, 2025, Defendant

President Donald J. Trump issued Executive Order No. 14248, entitled “Preserving and
Protecting the Integrity of American Elections” (“Elections EO”), to transform how federal

elections are conducted throughout the Nation.

         2.    The United States Constitution is clear about the power to regulate elections: as

the sovereigns closest to the people, the States have primary responsibility. As Madison

explained at the Virginia Convention, “[i]t was found necessary to leave the regulation of

[federal elections], in the first place, to the state governments, as being best acquainted with the

situation of the people.” 3 Records of the Federal Convention of 1787, p. 312 (M. Farrand ed.

1911).
         3.    Under the Elections Clause, Congress may preempt State elections law for federal

contests but nowhere does the Constitution provide the President, or the Executive Branch, with

any independent power to modify the States’ procedures for conducting federal elections.

         4.    The Elections EO usurps the States’ constitutional power and seeks to amend

election law by fiat.

         5.    In large measure, the unconstitutional Elections EO targets the Election

Assistance Commission (the “Commission”), an independent, bipartisan agency that Congress

established under its constitutional elections authority. To protect our elections, Congress

required the Commission to operate independently. It also required the Commission to make its

decisions under standards of bipartisanship, reasoned decision-making, and collaboration with

the States, which actually administer the Nation’s elections. The Elections EO seeks to eradicate

all those safeguards—aiming to force the Commission to rubberstamp the President’s policy

preferences on, among other things, voter registration and voting systems.

         6.    If not enjoined, the Elections EO would impose onerous “documentary proof of

citizenship” requirements for federal voter registration forms that would harm both Plaintiff

States and their citizens. This portion of the Order directly impacts most Plaintiff States because
the National Voter Registration Act (“NVRA”) requires all States subject to its provisions—44




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out of 50—to make the federal mail registration form (the “Federal Form”), or its equivalent,

available to register voters for federal elections. 52 U.S.C. §§ 20506, 20508. 1

       7.      The Elections EO would also effectively preclude Plaintiff States from

administering vote-by-mail systems that permit voters to make their choices by Election Day,

upending processes that accommodate more voters, decrease obstacles, and increase voter

participation. While unclear, it may also prohibit voters in Plaintiff States from curing minor

technical problems with timely ballots after Election Day. The Elections EO relies on a

fundamentally incorrect interpretation of federal Election Day statutes to support this command,

which itself is an unconstitutional invasion of State and Congressional election regulation.

       8.      The Elections EO thus unconstitutionally treats Plaintiff States as mere

instruments of the President’s policy agenda. To implement the President’s policies, the

Elections EO necessarily commandeers Plaintiff States’ elections apparatus because States

administer almost the entirety of the national elections system. For instance, there is no federal

voter registration database—each State maintains its own registration system. The mandates of

the Elections EO therefore require State officials to participate in the verification of voters’

citizenship documentation, a purported requirement that is itself contrary to the NVRA.

       9.      Likewise, Section 2(d) of the Elections EO commands the head of each State-

designated federal voter registration agency under the NVRA to immediately begin “assess[ing]

citizenship prior to providing a Federal voter registration form to enrollees of public assistance

programs.” This ambiguous provision potentially sweeps in a wide range of State and local


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  The NVRA applies to Alabama, Alaska, Arizona, Arkansas, California, Colorado, Connecticut,
Delaware, District of Columbia, Florida, Georgia, Hawaii, Illinois, Indiana, Iowa, Kansas,
Kentucky, Louisiana, Maine, Maryland, Massachusetts, Michigan, Mississippi, Missouri,
Montana, Nebraska, Nevada, New Jersey, New Mexico, New York, North Carolina, Ohio,
Oklahoma, Oregon, Pennsylvania, Rhode Island, South Carolina, South Dakota, Tennessee,
Texas, Utah, Vermont, Virginia, Washington, and West Virginia. Six states are exempt. See 52
U.S.C. § 20503(b); see also U.S. Dep’t of Justice, The National Voter Registration Act Of 1993
(NVRA) Questions and Answers (Nov. 1, 2024), https://tinyurl.com/43whaduz. Some of the
exempt states, however, like Minnesota, accept the Federal Form as a valid voter registration
form and will be required to make the same changes to that form for voters who choose to
register in that manner. Minn. Stat. § 201.071, subd. 1.


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offices serving low-income and disabled residents, obligating them to bear new administrative

burdens.

        10.    Likewise, there is no national ballot; again, each State provides its own ballots,

tabulates votes, and certifies its own results. Each of these steps are governed by State law. The

Elections EO unilaterally and baselessly attempts to rewrite those laws to prohibit States from

counting ballots that arrive after Election Day, even though they were postmarked on or before

that date.

        11.    The Elections EO violates the Constitution. It interferes with States’ inherent
sovereignty and their constitutional power to regulate the time, place, and manner of federal

elections. It also usurps Congress’s powers to legislate (under the Elections Clause) and to

appropriate (under the Spending Clause) because Congress has not chosen to implement the

changes the President seeks to impose by decree. The critical funds at issue have in large

measure already been appropriated by Congress. And if these coercive threats were not enough,

the Elections EO threatens to target Plaintiff States with Department of Justice investigations and

potential prosecution.

        12.    It bears emphasizing: the President has no power to do any of this. Neither the

Constitution nor Congress has authorized the President to impose documentary proof of

citizenship requirements or to modify State mail-ballot procedures. Indeed, the text, structure,

and history of the NVRA itself confirm that the Federal Form can only require citizenship

verification by attestation. The President cannot add a documentary proof of citizenship

requirement to the Federal Form, because even the Commission could not impose that

requirement. Even if a documentary proof of citizenship requirement were substantively

consistent with the NVRA, which it is not, only the Commission can change the Federal Form,

and then only “in consultation” with the States, with the majority approval of its bipartisan
Commissioners, and through reasoned decision-making subject to Administrative Procedures Act

(“APA”) review. See 52 U.S.C. §§ 20508, 20921, 20923, 20928; 5 U.S.C. § 706; League of

Women Voters of United States v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016). As a consequence,


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the Elections EO is facially unconstitutional, ultra vires, and an affront to the States’ sovereignty

and their constitutional authority to regulate the administration of elections.

       13.     The injuries Plaintiff States face are real, imminent, and irreparable. If the

provisions of the Elections EO challenged in this lawsuit are not enjoined, they will immediately

impose significant harm on Plaintiff States. Elections administration is complex, and the

Elections EO effectively orders Plaintiff States, at breakneck pace, to implement trainings,

testing, coordination, implementation, and voter education across multiple State agencies and

databases. Forcing Plaintiff States to complete these tasks effectively orders them to invest
enormous time and resources, diverting election staff from vital election priorities—like ensuring

the operation of State voter registration systems and the sound operation of State and local

elections, as well as primary preference elections, which occur regularly. In the compressed and

finite timeline of State elections and legislative sessions, this work cannot simply be picked up

later. For this reason, implementation of the Elections EO’s unlawful directives necessarily

comes at the cost of serving Plaintiff States’ residents and implementing State priorities. Even

with this effort, the Elections EO sows confusion and sets the stage for chaos in Plaintiff States’

election systems, together with the threat of disenfranchisement.

       14.     If instead Plaintiff States choose not to comply with the President’s blatantly

unconstitutional attempt to legislate-by-fiat, they will suffer severe cuts in federal funding that

will throw the national electoral system into disarray. The Framers carefully crafted a federal

compact that protects the States from this Hobson’s choice.

       15.     For all these reasons, the Elections EO is unconstitutional, antidemocratic, and

un-American. It intrudes on the constitutionally reserved powers of the States and Congress. It

purports to subvert laws that Congress has passed, in ways that Congress did not allow and in

conflict with the text of those laws. Through this action, Plaintiff States seek a judgment
declaring certain, specific provisions of the Elections EO to be unlawful and void and

corresponding preliminary and permanent orders enjoining action on or enforcement of those

specific provisions by any Defendant except the President.


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                                  JURISDICTION & VENUE
       16.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

2201(a).

       17.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) and (e)(1).

Defendants are United States agencies or officers sued in their official capacities.

       18.     The Commonwealth of Massachusetts is a resident of this District, and a

substantial part of the events or omissions giving rise to this Complaint occurred and continue to

occur within the District of Massachusetts.

                                         THE PARTIES
I.    PLAINTIFFS
       19.     The State of California is a sovereign state of the United States. California is

represented by Attorney General Rob Bonta, who is the State’s Chief Law Officer.

       20.     The State of Nevada is a sovereign state of the United States. Nevada is

represented by Attorney General Aaron Ford, who is the State’s Chief Law Officer.

       21.     The Commonwealth of Massachusetts is a sovereign state of the United States.

Massachusetts is represented by Attorney General Andrea Joy Campbell, who is the

Commonwealth’s Chief Law Officer.

       22.     The State of Arizona is a sovereign state of the United States. Arizona is

represented by Attorney General Kris Mayes, who is the State’s Chief Law Officer.

       23.     The State of Colorado is a sovereign state of the United States. Colorado is

represented by Attorney General Philip J. Weiser, who is the State’s Chief Law Officer.

       24.     The State of Connecticut is a sovereign state of the United States. Connecticut is

represented by Attorney General William Tong, who is the State’s Chief Law Officer.

       25.     The State of Delaware is a sovereign state of the United States of America. This

action is brought on behalf of the State of Delaware by Attorney General Kathleen Jennings, the

“chief law officer of the State.” Darling Apartment Co. v. Springer, 22 A.2d 397, 403 (Del.




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1941). Attorney General Jennings also brings this action on behalf of the State of Delaware

pursuant to her statutory authority. 29 Del. C. § 2504.

       26.     The State of Hawaii is a sovereign state of the United States. Hawaii is

represented by Attorney General Anne E. Lopez, who is the State’s Chief Legal Officer.

       27.     The State of Illinois is a sovereign state of the United States. Illinois is

represented by Attorney General Kwame Raoul, who is the State’s Chief Law Officer.

       28.     The State of Maine is a sovereign state of the United States. Maine is represented

by Attorney General Aaron M. Frey, who is the State’s Chief Law Officer.
       29.     The State of Maryland is a sovereign state of the United States. Maryland is

represented by Attorney General Anthony G. Brown who is the State’s Chief Legal Officer.

       30.     The People of the State of Michigan are represented by Attorney General Dana

Nessel. The Attorney General is Michigan’s chief law enforcement officer and is authorized to

bring this action on behalf of the People of the State of Michigan pursuant to Mich. Comp. Laws

§ 14.28.

       31.     The State of Minnesota is a sovereign state of the United States. Minnesota is

represented by Attorney General Keith Ellison, who is the State’s Chief Law Officer.

       32.     The State of New Jersey is a sovereign state of the United States. The Attorney

General of New Jersey is the State’s chief legal adviser and is authorized to act in federal court

on behalf of the State on matters of public concern.

       33.     The State of New Mexico is a sovereign state of the United States. New Mexico

is represented by Attorney General Raúl Torrez, who is the State’s Chief Legal Officer.

       34. The State of New York, represented by and through its Attorney General, is a

sovereign state of the United States. The Attorney General is New York State’s chief law

enforcement officer and is authorized under N.Y. Executive Law § 63 to pursue this action.
       35.     The State of Rhode Island is a sovereign state of the United States. Rhode Island

is represented by Attorney General Peter F. Neronha, who is the State’s Chief Law Officer.




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       36.     The State of Vermont is a sovereign state of the United States. Vermont is

represented by Attorney General Charity R. Clark, who is the State’s Chief Law Officer.

       37.     The State of Wisconsin is a sovereign state of the United States. Wisconsin is

represented by Attorney General Josh Kaul, who is the State’s Chief Law Officer.

II.   DEFENDANTS
       38.     Defendant Donald J. Trump is the President of the United States. He is

responsible for the actions and decisions that are being challenged by Plaintiff States in this

action and is sued in his official capacity, and only for declaratory relief.

       39.     Defendant Pamela Bondi is the Attorney General of the United States. She is

sued in her official capacity.

       40.     Defendant United States Election Assistance Commission is an independent

federal commission established under 52 U.S.C. § 20921. The Commission is responsible for

developing the Federal Form, in consultation with the chief election officers of the States, for the

registration of voters for elections for federal office. 52 U.S.C. § 20508(a)(2). The Commission

is further responsible for disbursing statutory elections funds to Plaintiff States. Id. § 21001.

       41.     Defendant Donald L. Palmer is a Commissioner and the Chairman of the Election

Assistance Commission. He is sued in his official capacity.

       42.     Defendant Thomas Hicks is a Commissioner and the Vice Chair of the Election

Assistance Commission. He is sued in his official capacity.

       43.     Defendants Christy McCormick and Benjamin W. Hovland are Commissioners of

the Election Assistance Commission. They are sued in their official capacities.

       44.     Defendant Pete Hegseth is the Secretary of Defense. He is sued in his official

capacity.

                                   FACTUAL ALLEGATIONS
       45.     On March 25, 2025, the President issued Executive Order No. 14248, entitled

“Preserving and Protecting the Integrity of American Elections” (“Elections EO”). Although the




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President invoked “the authority vested in [him] as President by the Constitution and the laws of

the United States of America,” the Elections EO is not authorized by either.

       46.      Through the Elections EO, the President seeks to unconstitutionally seize the right

to prescribe regulations for federal elections, authority reserved to the States and Congress. The

Elections EO also seeks to repurpose a set of existing federal programs and funding streams and

use them as a cudgel to enforce rules that Congress never enacted.

       47.      The Elections EO accomplishes these aims in part by purporting to order the

independent, bipartisan, and multimember Commission to take actions that are contrary to law,
trampling upon the protections that Congress created to ensure that the Commission’s work

would be evenhanded and independent. The Elections EO is a unilateral attempt by the

Executive to assume powers that the Constitution assigns exclusively to Plaintiff States and

Congress.

       48.      Plaintiff States and local elections officials, as frontline election administrators,

will be directly harmed by the Elections EO’s unconstitutional purported amendment of federal

voting law.

       49.      By this Complaint, Plaintiff States challenge the following specific provisions of

the Elections EO (the “Challenged Provisions”) that will cause imminent and irreparable harm to

the States if they are not enjoined:

             a. Section 2(a). The Elections EO orders the Commission “to require, in its national

                mail voter registration form issued under 52 U.S.C. 20508 . . . documentary proof

                of United States citizenship,” contrary to existing federal law and the status of the

                Commission as an independent agency. See Elections EO, § 2(a). The Elections

                EO directs State and local elections officials to implement the burdensome

                documentation requirements associated with this provision, though the President

                has no authority over State and local officials. See id. § 2(a)(i)(B).

       b.       Section 2(d). The Elections EO orders “the head of each Federal voter

                registration executive department or agency” to “assess citizenship prior to


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     providing a Federal voter registration form to enrollees of public assistance

     programs,” raising the specter of commandeering Plaintiff State agencies and

     resources in violation of fundamental State sovereignty if it extends to State and

     local agencies designated under the NVRA. See id. § 2(d).

c.   Section 3(d). The Elections EO orders the Secretary of Defense to “update the

     Federal Post Card Application, pursuant to the Uniformed and Overseas Citizens

     Absentee Voting Act, 52 U.S.C. 20301, to require documentary proof of United

     States citizenship” and “proof of eligibility to vote in elections in the State in

     which the voter is attempting to vote[,]” drastically amending the statute contrary

     to its purpose and text and rendering the application costly and challenging to

     implement. See id. § 3(d).

d.   Section 4(a). The Elections EO orders the Commission to “take all appropriate
     action to cease providing Federal funds to States that do not comply with the

     Federal laws set forth in 52 U.S.C. 21145, including the requirement in 52 U.S.C.

     20505(a)(1) that States accept and use the national mail voter registration form

     issued pursuant to 52 U.S.C. 20508(a)(1), including any requirement for

     documentary proof of United States citizenship adopted pursuant to” the unlawful

     Elections EO’s requirements. See id. § 4(a).

e.   Section 7(a). The Elections EO directs the Attorney General to “take all

     necessary action to enforce” a draconian and incorrect interpretation of federal

     Election Day statutes that would preclude States from counting ballots that arrive

     after Election Day, even if they were mailed on or before that day. See id. § 7(a).

     This erroneous interpretation might also conflict with State laws that allow voters

     to cure ballots with minor technical problems that were timely submitted.

f.   Section 7(b). The Elections EO orders the Commission to enforce this

     interpretation of the Election Day statutes by conditioning “any available funding

     to a State on that State’s compliance” with the Elections EO’s new institution of a


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                “ballot receipt deadline of Election Day,” even though the Commission has no

                statutory authority to condition funding on these grounds. See id. § 7(b).

I.    STATE AND CONGRESSIONAL REGULATION OF ELECTIONS
        50.     The President’s unlawful order amending statutes governing the conduct of

federal elections dramatically oversteps the limits of Presidential power.

        51.     The Constitution’s Elections Clause reserves elections administration to the

States, subject only to Congress’s preemption power: “The Times, Places and Manner of holding

Elections for Senators and Representatives, shall be prescribed in each State by the Legislature

thereof; but the Congress may at any time by Law make or alter such Regulations, except as to

the Places of chusing Senators.” U.S. Const. art. I, § 4, cl. 1. Similarly, the Electors Clause

specifies that “[e]ach State shall appoint, in such Manner as the Legislature thereof may direct, a

Number of Electors, equal to the whole Number of Senators and Representatives to which the

State may be entitled in the Congress.” U.S. Const. art. II, § 1, cl. 2.

        52.     The Constitution, then, “invests the States with responsibility for the mechanics of

[federal] elections,” but allows Congress—not the President, unilaterally—to preempt those

choices in the context of federal elections. Foster v. Love, 522 U.S. 67, 69 (1997). Unless

Congress provides otherwise, States have the authority “to provide a complete code for [federal]

elections, not only as to times and places, but in relation to notices, registration, . . . protection of

voters, [and] prevention of fraud and corrupt practices.” Smiley v. Holm, 285 U.S. 355, 366

(1932); see also Arizona v. Inter Tribal Council of Ariz., Inc. (“ITCA”), 570 U.S. 1, 8–9 (2013)

(quoting Smiley, 285 U.S. at 366). In short, States are authorized “to enact the numerous

requirements as to procedure and safeguards which experience shows are necessary in order to

enforce the fundamental right involved.” Smiley, 285 U.S. at 366.

        53.     U.S. elections are administered consistent with the constitutional command. State
legislatures, as representatives of their constituents, enact statutes that comprehensively structure

State and federal elections. Plaintiff States’ election officials implement and clarify those laws

with regulations and guidance. These laws and regulations govern a wide range of election


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issues, including early voting, vote-by-mail, and voter identification. Plaintiff States also design

their own ballots and do their own redistricting—including redrawing congressional district

boundaries. Election codes can differ significantly by State, with each State tailoring its rules to

the needs and preferences of its residents.

       54.     Beyond setting most election rules, Plaintiff States and their subdivisions also

administer elections. Plaintiff States and their subdivisions purchase, maintain, test, and certify

all voting machines, and maintain their election information management systems and poll

books. Plaintiff States answer questions from voters and local election officials and develop a
wide range of training and educational resources for their staff, counties, poll workers, and

voters. These resources range from technical instructions for the voting machines to guidance on

the implementation of a new law. Plaintiff States design and issue ballots; provide support for

local officials who operate polling locations; and collect and secure ballots. Once voting has

closed, States canvass and certify the vote. Finally, in a Presidential election, after all votes have

been counted and the vote audited, Plaintiff States certify the results to Congress. 3 U.S.C. § 5.

       55.     Especially relevant here, Plaintiff States also register voters, coordinate

maintenance of voter registration lists, and ensure that voter registration data is secure and

accurate. But they do not have free reign in deciding who to register and how. To facilitate

registering voters and to ensure maximum access to the ballot in federal elections by eligible

citizens, Congress exercised its Elections Clause preemptive authority—first with the Uniformed

Overseas Citizen Absentee Voting Act (“UOCAVA”), then with the NVRA and the Help

America Vote Act (“HAVA”)—to regulate aspects of voting registration. Congress has also

exercised its Spending Power under the U.S. Constitution, Article I, Section 8, to allocate federal

funds to support States in implementing federal law and conducting elections. See, e.g., 52

U.S.C. § 21001.
       56.     In contrast, the President has no constitutional authority to “make or alter” laws

governing federal elections. In fact, the Constitution grants the President no legislative power at

all. Cf. U.S. Const. art. I, § 4. Although the President may “recommend to [Congress’s]


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consideration such measures as he shall judge necessary and expedient,” id., art. II, § 3, and may

veto legislation passed by Congress, id., art. I, § 7, he may neither alter a duly enacted law nor

impose his own law by fiat.

        57.     Instead of granting the President a free hand to rewrite federal law, the

Constitution imposes on him the mandatory duty to “take care that the laws be faithfully

executed.” Id., art. II, § 3.

        58.     For these reasons, and as explained below, the Challenged Provisions are

unconstitutional, ultra vires, and violative of the separation of powers and State sovereignty.

II.   FEDERAL LAWS ENACTED BY CONGRESS GOVERNING FEDERAL ELECTIONS

      A.      The National Voter Registration Act & the “Federal Form”
        59.     Congress passed the NVRA in 1993 to reduce barriers to voter registration,

protect the integrity of federal elections, and improve the accuracy of voter registration rolls. See

52 U.S.C. § 20501(b).

        60.     In crafting the NVRA, Congress sought to “make it possible for Federal, State,

and local governments to implement” the law “in a manner that enhances the participation of

eligible citizens as voters in elections for Federal office.” Id.

        61.     The NVRA establishes several methods to register to vote in federal elections, in

addition to any registration method provided by State law. Those options include an “application

made simultaneously with an application for a motor vehicle driver’s license,” 52 U.S.C.

§ 20503(a)(1), a “mail application,” id. § 20503(a)(2), and “by application in person” at a variety

of qualifying sites, including federal, state, and local agencies designated by the States, id. §

20503(a)(3).

        62.     The NVRA requires States to accept and use a federal “mail voter registration

application form”—commonly referred to as the “Federal Form”—or its equivalent for mail

registration and during in-person registration at certain government or nongovernment offices

designated in the statute. See id. §§ 20505(a)(1), 20506(a)(6)(A). States may also create and use




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their own mail registration forms for federal elections if they satisfy the NVRA’s statutory

criteria. See id. § 20505(a)(2).

       63.     Responsibility for creating the Federal Form rests with the Commission, which

was created by HAVA in 2002. Congress made clear that the Commission must develop the

Federal Form “in consultation with the chief election officers of the States.” Id. § 20508(a)(2).

       64.     The Commission’s discretion in developing the Federal Form is carefully

circumscribed by statute. For example, the Federal Form “may require only such identifying

information (including the signature of the applicant) and other information (including data
relating to previous registration by the applicant) as is necessary to enable the appropriate State

election official to assess the eligibility of the applicant and to administer voter registration and

other parts of the election process.” Id. § 20508(b)(1) (emphasis added).

       65.     Likewise, the Federal Form “may not include any requirement for notarization or

other formal authentication.” Id. § 20508(b)(3) (emphasis added).

       66.     As the D.C. Circuit has explained, the statutory text of the NVRA is

“straightforward.” Newby, 838 F.3d at 10. If a given datapoint is “‘necessary’ to enforce voter

qualifications, then the NVRA and probably the Constitution require its inclusion” in the Federal

Form. Id. But “if not, the NVRA does not permit its inclusion and the Constitution is silent.”

Id.

       67.     The NVRA addresses citizenship by providing that the Federal Form must require

the applicant to attest that they meet “each eligibility requirement (including citizenship)” and

sign under penalty of perjury. Id. § 20508(b)(2). The decision to address citizenship through

attestation rather than documentary proof reflects the considered judgment of Congress, which

considered, but declined to adopt, a requirement of documentary proof of citizenship, reasoning

that it was “not necessary or consistent with the purposes of” the NVRA. H.R. Rep. No. 103–66,
at 23–24 (1993).

       68.     Indeed, the Commission has previously denied requests to include requirements

for documentary proof of citizenship on the Federal Form. In January 2014, acting on requests


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from both Kansas and Arizona, the Commission declined to amend the Federal Form to include

requirements for registrants in those States to provide documentary proof of citizenship. Among

other reasons for its decision, the Commission highlighted Congress’s explicit rejection of

proposals related to documentary proof of citizenship as inconsistent with the purposes of the

NVRA and likely to interfere with its registration provisions, to the point of “effectively

eliminat[ing]” mail-in registration. The Commission also determined that the Federal Form

“currently provides the necessary means for assessing applicants’ eligibility,” and that the States

had “myriad of means available to enforce their citizenship requirements without requiring
additional information from Federal Form applicants.” Finally, the Commission determined that

granting the requests would undermine the purposes of the NVRA by imposing additional

burdens on registrants and thwarting organized voter registration programs, which the NVRA

sought to encourage in 52 U.S.C. § 20505(b) by directing States to make mail-in registration

forms available for distribution, “with particular emphasis on making them available for

organized voter registration programs.”

       69.     Even in the limited set of circumstances where the Commission may lawfully

amend the Federal Form by adding required information, the Commission must comply with key

procedural requirements. Among other things, the Federal Form must be developed and

amended “in consultation with the chief election officers of the States.” 52 U.S.C. § 20508. In

other words, the Commission cannot act unilaterally. And, even after consulting the States, the

Commission can only amend the form following the normal notice-and-comment process

mandated by the APA, with judicial review. See Newby, 838 F.3d at 11–12.

       70.     Congress took pains to define the Federal Form’s substance and the process for

development and amendment because the Federal Form is enormously important to the complex

process of registering voters and administering federal elections. The 44 States subject to the
NVRA must “accept and use” the Federal Form for registering voters in federal elections. 52

U.S.C. § 20505(a)(1).




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       71.     These requirements mean that, in practice, most Plaintiff States’ voter registration

mechanisms are intertwined with the Federal Form’s requirements.

       72.     In some Plaintiff States, the overlap is particularly extensive. For example:

Nevada registers voters online, by mail, at county clerks’ offices, and at polling locations. It also

registers votes at the Nevada Department of Motor Vehicles; certain offices of the Nevada

Department of Health and Human Services; the Nevada Department of Employment, Training

and Rehabilitation; and U.S. Armed Forces Recruitment Offices. Right now, each agency offers

Nevada’s version of the Federal Form, whether on paper or through verbal questions—which
workers must be trained to administer.

      B.     The Help America Vote Act
       73.     Congress passed HAVA in 2002 following the 2000 presidential election. HAVA

sought to upgrade voting systems by setting standards for voting machines and voter registration

databases and by providing federal funding to the States for elections purposes. See 52 U.S.C.

§§ 20901, 21081, 21083. HAVA also established rules allowing voters to cast provisional

ballots. Id. § 21082.

       74.     As explained above, HAVA established the independent, bipartisan Commission.

Id. § 20921. The four members of the Commission are appointed to four-year terms and are

evenly split between the two political parties. Id. § 20923(a), (b). The four-year terms of

Commission members are staggered at two-year intervals, and a Commission member may serve

no more than two four-year terms. Id. § 20923(b)(1), (2). The Commission may only act within

its statutory authority and with the “approval of at least three of its members.” Id. § 20928.

      C.     The Uniformed and Overseas Citizens Absentee Voting Act
       75.     In 1986, Congress passed UOCAVA, which governs voting by overseas citizens.

52 U.S.C. §§ 20301–20311.
       76.     Under UOCAVA, each State is required to permit absent uniformed services

voters and overseas voters to use absentee registration procedures and vote by absentee ballot in

all federal elections. 52 U.S.C. § 20302(a)(1).


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       77.     The President is required to designate the head of an executive department to have

the primary responsibility for federal functions under UOCAVA. 52 U.S.C. § 20301(a). Chief

among those responsibilities is to prescribe a single post card registration form and absentee

ballot (the “Federal Post Card Application”) to be sent to overseas voters and voters in the

uniformed services for federal elections and which will be used by the States. Id. § 20301(b)(2).

       78.     Under UOCAVA, States must “use the official post card form” prescribed by the

Secretary of Defense and “accept and process . . . any otherwise valid voter registration

application and absentee ballot application from an absent uniformed services voter or overseas
voter,” which would include the Federal Post Card Application. 52 U.S.C. § 20302(a)(2), (4).

Several Plaintiff States have codified this requirement. See, e.g., Cal. Elec. Code §§ 3102(c),

3105(b)(2); Mass. Gen. Laws c. 54, § 91C.

      D.     Federal Laws Governing the Date of Federal Elections
       79.     States have the authority to regulate the “Times, Places, and Manner” for

congressional elections, unless preempted or supplemented by Congress. U.S. Const. art. I, § 4,

cl. 1. And States establish the “Manner” of choosing Presidential electors, id. art. II, § 1, cl. 2,

while Congress “determine[s] the Time of chusing the Electors, and the Day on which they shall

give their Votes,” id. art. II, § 1, cl. 4. Among the “Manner[s]” left for the States to decide is the

“counting of votes.” Smiley, 285 U.S. at 366.

       80.     Congress has set days for federal elections, consistent with these constitutional

mandates. In 2 U.S.C. § 7, Congress has “established . . . the day for the election” of members of

the House of Representatives, and in 3 U.S.C. §§ 1 and 21(1), the “election day” for Presidential

electors. Election Day statutes addressed the problem of some States setting their election day

earlier than others, strongly influencing elections before they were concluded. Foster, 522 U.S.

at 73–74. These laws required “only that if an election does take place, it may not be

consummated prior to election day.” Id. at 71–72 & n.4 (emphasis added). They do not prohibit

States from receiving and counting ballots that were indisputably mailed by Election Day or




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curing minor, technical errors after Election Day to ensure that ballots timely cast ballots before

Election Day are counted.

       81.     52 U.S.C. § 21081(a)(6) requires “[e]ach State” to “adopt . . . standards that

define what constitutes a vote and what will be counted as a vote for each category of voting

system used in the State.” It does not prescribe what standards must be used, nor does it provide

that the President or the EAC has authority to dictate those standards. Each Plaintiff State has

adopted such standards.

       82.     Consistent with this federal regulation, Plaintiff States have exercised their own
constitutional and statutory authority to determine for each of their respective jurisdictions how

to best receive and count votes that are timely cast by mail in federal elections. Many of the

Plaintiff States provide for the counting of otherwise timely absentee and mail ballots received

after Election Day including, ballots postmarked by Election Day but received after the close of

polls. See, e.g., Cal. Elec. Code § 3020(b); Mass. Gen. Laws c. 54, § 93; Nev. Rev. Stat. §

293.269921(1)(b), (2); N.J. Stat. Ann. § 19:63-22(a); N.Y. Election Law sec. 8-412(1), 8-710(1).

Others offer procedures allowing voters to fix or “cure” minor errors in timely cast ballots after

Election Day to allow their ballot to be counted.

      E.     Congressional Efforts to Pass the SAVE Act
       83.     Although some version of a bill amending the NVRA to impose proof of

citizenship requirements for federal registrants has been introduced in the last two Congresses, it

has never passed the Senate or been presented to the President for signature.

       84.     In May 2024, Texas Congressman Chip Roy introduced the “Safeguard American

Voter Eligibility Act,” more commonly known as the “SAVE Act.” The SAVE Act would have

amended the NVRA to provide that “[u]nder any method of voter registration in a State, the State

shall not accept and process an application to register to vote in an election for Federal office
unless the applicant presents documentary proof of United States citizenship with the

application.” H.R. 8281 (118th Cong.), § 2.




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        85.     Although this version of the bill passed the House on a near party line vote, it was

never referred to committee in the Senate or considered for final passage.

        86.     The most recent version of Congressman Roy’s bill, H.R. 22, was introduced on

the first day of the new Congress, January 3, 2025. The House referred the reintroduced version

of the SAVE Act to the Committee on Administration, where it languished until March 27,

2025—three days after the President issued the Elections EO. Then, without hearing, the bill

was transferred to the House Rules Committee. On April 1, 2025, the Rules Committee passed a

resolution providing for the consideration of H.R. 22 by the House.
        87.     Neither version of the SAVE Act has ever proven popular enough to pass through

the ordinary democratic process. President Trump and his administration cannot bypass the

ordinary legislative process to legislate by fiat, assuming for the Executive Branch powers that

are reserved for the States and the Legislative Branch.

III. THE ELECTIONS EO
        88.     The Elections EO commands several significant changes to federal elections law

and practice. Some of these changes would be effectuated through the Commission and other

federal agencies. Others are imposed directly on the States, enforced by punitive funding

conditions and investigatory threats. This lawsuit addresses the following Challenged

Provisions:

        89.     Forcing the Elections Assistance Commission and the States to Require

Documentary Proof of Citizenship with the Federal Form. The Elections EO directs the

Commission to take action to revise the Federal Form—within 30 days—to require

“documentary proof of United States citizenship, consistent with 52 U.S.C. § 20508(b)(3).”

Elections EO, § 2(a)(i). The Elections EO defines the scope of documents sufficient to prove

citizenship narrowly: a U.S. passport, a driver’s license indicating citizenship, military

identification indicating citizenship, or other “valid Federal or State government-issued photo

identification if such identification indicates that the applicant is a United States citizen or if such

identification is otherwise accompanied by proof of United States citizenship.” Id. § 2(a)(ii).


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       90.     The Elections EO requires State and local officials to implement that mandate by

“record[ing] on the [registration] form the type of document that [an] applicant present[s] as

documentary proof of United States citizenship, including the date of the document’s issuance,

the date of the document’s expiration (if any), the office that issued the document, and any

unique identification number associated with the document . . . while taking appropriate

measures to ensure information security.” Id. § 2(a)(i)(B).

       91.     The Elections EO requires the Commission to “take all appropriate action to cease

providing Federal funds to States” that do not accept the Federal Form, as unlawfully amended to
require documentary proof of citizenship. See id. § 4(a).

       92.     Commandeering State Agencies to Determine Citizenship Before Registering

Voters. Section 2(d) of the Elections EO commands the head of each State-designated federal

voter registration agency under the NVRA to immediately begin “assess[ing] citizenship prior

to” providing public assistance to residents. These agencies represent a wide range of direct

service providers.

       93.     Requiring Military and Overseas Voters to Submit Documentary Proof of

Citizenship and Eligibility to Vote in State Elections. The Elections EO requires similar

changes to the Federal Post Card Application form used for voters in the military or living

abroad. It orders the Secretary of Defense to “update the Federal Post Card Application,

pursuant to the Uniformed and Overseas Citizens Absentee Voting Act, 52 U.S.C. 20301, to

require” documentary proof of citizenship, as defined above, and “proof of eligibility to vote in

elections in the State in which the voter is attempting to vote.” Id. § 3(d).

       94.     Coercing States to Alter Their Ballot Counting Laws. The Elections EO

purports to enforce a single, “uniform day for appointing Presidential electors and electing

members of Congress,” which requires States to exclude “absentee or mail-in ballots received

after Election Day [from] the final tabulation of votes for the appointment of Presidential electors

and the election of members of the United States Senate and House of Representatives.” Id.

§ 7(a). The EO directs the Commission to “condition any available funding to a State on that


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State’s compliance with” the requirement that “each State adopt uniform and nondiscriminatory

standards within that State that define what constitutes a vote and what will be counted as a

vote,” including the requirement that States exclude absentee or mail ballots received after

election day in the final tabulation of the vote for federal elections. Id. § 7(b).

IV.   FEDERAL FUNDING STREAMS IMPLICATED BY THE ELECTIONS EO
       95.     The Elections EO threatens to withhold various streams of federal funding to the

States for purported noncompliance with the Challenged Provisions. HAVA funds, upon which

many Plaintiff States rely, are directly implicated.

       96.     Section 4(a) of the Elections EO requires that the Commission “take all

appropriate action to cease providing Federal funds to States that do not comply with the Federal

laws set forth in 52 U.S. 21145, including the requirement in 52 U.S.C. 20505(a)(1) that States

accept and use the national mail voter registration form issued pursuant to 52 U.S.C.

20508(a)(1), including any requirement for documentary proof of United States citizenship

adopted pursuant to section 2(a)(ii) of this order.”

       97.     Section 7(b) of the Elections EO similarly directs that the Commission “condition

any available funding to a State on that State’s compliance with the requirement in 52 U.S.C.

21081(a)(6) that each State adopt uniform and nondiscriminatory standards within that State that

define what constitutes a vote and what will be counted as a vote,” including that there be a

uniform ballot receipt deadline of Election Day for all methods of voting.

       98.     Pursuant to HAVA, the Commission provides “requirements payments” to States

for the primary purpose of improving the administration of elections for Federal offices. See 52

U.S.C. § 21001(b). These include grants to improve election infrastructure, update voting

equipment, enhance cybersecurity, ensure accessibility, and support voter education initiatives.

The amount of funding a State receives is determined through a formula that considers multiple

factors. By statute, each State must receive a minimum payment, not less than one-half of one

percent of the total amount appropriated for the year. Id. § 21002(c)(1). A State’s remaining
amount is then determined by its “allocation percentage,” a fixed calculation that is the quotient


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of the State’s voting age population and the total voting age population of all the States. Id.

§ 21002(b).

       99.     Requirements payments disbursed by the Commission are statutorily conditioned

on States’ certification of a funding plan that directs money to activities to improve the

administration of elections. Id. § 21003(b)(1); see id. § 21004(a). States must also certify

compliance with a list of enumerated laws, including the Voting Rights Act of 1965, the Voting

Accessibility for the Elderly and Handicapped Act, the Americans with Disabilities Act of 1990,

and the NVRA. Id. § 21003(b); see id. § 21145(a) (listing laws). With respect to the NVRA,
each State is required to accept and use the Federal Form issued by the Commission pursuant to

52 U.S.C. § 20508. See id. § 20505(a)(1). However, outside of design and issuance of the

Federal Form and promulgation of related regulations, the Commission does not have “any

authority to issue any rule, promulgate any regulation, or take any other action which imposes

any requirement on any State or unit of local government.” Id. § 20929.

       100.    Since 2003, the Commission has administrated more than $4.35 billion in HAVA

formula funding to States and territories. In that time, California has received a total of over

$505 million from the Commission. Nevada has received over $36 million. New York has

received more than $49 million in HAVA Election Security Grants since 2018, more than $172

million in HAVA Requirements Payments since 2005, and more than $16 million in HAVA

Election Improvement funds since 2003. Michigan has similarly been awarded more than $27

million in HAVA Security Grant funding. Delaware has received $13 million in HAVA

Requirements Payments. Minnesota has received $17 million in HAVA funding. Colorado has

received more than $16 million in HAVA Election Security Grants, and prior to 2018 received

more than $38 million in HAVA Election Improvement grants. Arizona has received

approximately $12 million in HAVA funds since 2020, which the State apportions among
election officials at the county and State level to administer elections. Massachusetts has

received more than $94 million in HAVA funding. New Jersey has received more than $76

million in HAVA Section 251 payments. Vermont has received $5 million in HAVA Election


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Improvement Funds, over $12 million in HAVA Section 251 Requirements Payments, and $12

million in HAVA Security Grant funding. Connecticut has received more than $13 million in

HAVA Security Grant funding since 2018. Rhode Island has received a total of $9.2 million in

HAVA section 101 elections security grants since 2018, and previously received $13 million in

HAVA section 251 grants. Maine has received at least $9,634,743 in HAVA funds since 2018.

V.    HARM TO PLAINTIFF STATES
        101.    If the Challenged Provisions are implemented, they will irreparably harm Plaintiff

States in several concrete ways.

        102.    To start, the Challenged Provisions will blatantly transgress on the Plaintiff

States’ constitutional power to prescribe the time, place, and manner of federal elections. The

Elections EO amounts to an unprecedented seizure of power over elections administration by the

federal Executive Branch, which has no constitutional authority over elections. The Challenged

Provisions seek to amend and dictate election law by fiat and relegate Plaintiff States to mere

instruments of the President’s policy agenda. Its provisions do affirmative harm to Plaintiff

States’ efforts to secure the voting rights of their citizens. This invasion of State constitutional

power, in and of itself, amounts to concrete constitutional injury.

        103.    Aside from usurping Plaintiff States’ constitutional power over elections, the

Challenged Provisions in the Elections EO directly harms them in at least three additional ways.

        104.    First, the Elections EO’s documentary proof of citizenship requirement would

impose a significant burden on the voter registration systems maintained at the State and local

level in the Plaintiff States.

        105.    As required under HAVA, Plaintiff States maintain statewide voter registration

databases. 52 U.S.C. § 21083(a). In many Plaintiff States, counties and other smaller political

subdivisions likewise maintain their own voter registration databases that push information to a

statewide voter registration database. The Elections EO commandeers this infrastructure

wholesale, requiring State and local officials to check documentary proof of citizenship and

record the type of proof shown when an applicant uses the Federal Form to register. Elections


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EO, § 2(a)(i)(B). State and local elections officials would be required to devote time and

personnel to setting up the infrastructure, policies, and technology to implement the new

requirements, including by implementing “appropriate measures to ensure information security”

with regard to the new information they are charged with collecting. Id., § 2(a). Such sweeping

changes to interconnected databases are a huge undertaking; they require time, money, and

significant people power. 2 Because elections administration is generally decentralized,

implementing these changes requires substantial lead-time.

       106.    Second, the Elections EO presents Plaintiff States with a lose-lose proposition:

implement the President’s unconstitutional orders to change their elections administration

systems, even though the changes would disenfranchise lawful voters and are contrary to the

States’ and Congress’s judgment, or lose access to essential federal funding.

       107.    The funding that Plaintiff States receive from Defendants is significant and

ongoing. Since 2003, the Commission has administered more than $4.35 billion in HAVA

funding to the States and territories, including funding totaling $1.4 billion from 2018 to 2024.

These critical funds support the administration of elections for federal office, election security,

and improvements to voting and elections systems. This money is critical to some of the

Plaintiff States. For example, California has received a total of over $505 million from the

Commission. Nevada received at least $12 million for 2018 to 2024. New York has received

more than $49 million in HAVA Election Security Grants since 2018, more than $172 million in

HAVA Requirements Payments since 2005, and more than $16 million in HAVA Election

Improvement funds since 2003. Michigan has similarly been awarded more than $27 million in

HAVA Security Grant funding. Delaware has received $13 million in HAVA Requirements

Payments. Minnesota has received $17 million in HAVA funding. Colorado has received more

than $16 million in HAVA Election Security Grants and prior to 2018 received more than $38

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  One of the Plaintiff States, Arizona, already requires documentary proof of citizenship for voter
registration, at least for State elections. However, Arizona defines documentary proof of
citizenship quite differently from how the Elections EO defines it. Compare A.R.S. § 16-166(F)
with Elections EO, § 2(a)(ii).


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million in HAVA Election Improvement grants. Arizona has received approximately $12

million in HAVA funds since 2020, which the State apportions among election officials at the

county and State level to administer elections. Massachusetts has received more than $94

million in HAVA funding. New Jersey has received more than $76 million in HAVA Section

251 payments, including more than $22 million from 2019 to the present. Vermont has received

$5 million in HAVA Election Improvement Funds, over $12 million in HAVA Section 251

Requirements Payments, and $12 million in HAVA Security Grant funding, which are essential

to administering elections in the state. Connecticut has received more than $13 million in
HAVA Security Grant funding since 2018. Rhode Island has received a total of $9.2 million in

HAVA section 101 elections security grants since 2018, and previously received $13 million in

HAVA section 251 grants. Maine has received at least $9,634,743 in HAVA funds since 2018.

These existing funding amounts were not meant to cover the new requirements purportedly

imposed by the Elections EO, and they are insufficient to cover the dramatic changes to voter

registration systems and election administration procedures contemplated by the Executive

Order. Such unfunded mandates harm the States.

       108.    The Elections EO presents Plaintiff States with an unconstitutional choice: either

lose access to essential funds, harming States’ practical ability to conduct their elections, or

institute unlawful and unfunded conditions that would have the effect of disenfranchising their

own citizens in order to continue receiving existing funding.

       109.    Third, the Elections EO further impacts Plaintiff States’ administration of

elections because it sets forth an interpretation of the federal Election Day statutes that is not

consistent with the text of those statutes and conflicts with many Plaintiff States’ method for

counting ballots. Under federal law, Plaintiff States must adopt standards that define what

constitutes a vote and what will be counted as a vote. 52 U.S.C. § 21081(a)(6). Plaintiff States
have adopted varying standards pursuant to this requirement, including many Plaintiff States that

allow absentee and mail-in ballots postmarked before or on Election Day to be counted, so long

as they are received within a limited period of time after Election Day. See, e.g., Cal. Elec. Code


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§ 3020(b); Mass. Gen. Laws c. 54, § 93; N.J. Stat. Ann. § 19:63-22(a); Nev. Rev. Stat. §

293.269921(1)(b), (2); N.Y. Election Law sec. 8-412(1), 8-710(1). Many Plaintiff States also

have laws that allow rejected ballots—e.g., ballots with a non-matching signature—to be cured

by voters and counted. Even these laws could be deemed to violate the Elections EO.

       110.    The Elections EO declares these State laws that allow for counting a vote received

after Election Day to be “violations” of the federal Election Day statutes and directs the Attorney

General to enforce those Election Day statutes against States. Plaintiff States with laws allowing

for the tabulation of timely cast ballots received or cured after Election Day intend to administer
federal elections in accordance with these State laws, notwithstanding this conflict. Because the

Elections EO directs the Attorney General to “take all necessary action to enforce” the

President’s incorrect and conflicting interpretation of federal law, there is an actual controversy

between Plaintiff States and the Attorney General and there is a credible threat of immediate

enforcement by the Attorney General against Plaintiff States.

       111.    The Elections EO also seeks to give immediate, punitive effect to the President’s

legal position by ordering the Commission to withhold funding from States that do not

acquiesce. The Elections EO therefore directly interferes with Plaintiff States’ administration of

federal elections because it attempts to force changes in the way votes are counted. Were

Plaintiff States compelled to follow the President’s erroneous interpretation of the federal

Election Day statutes, it would upend their established State laws and procedures for

administering federal elections, resulting in widespread voter confusion and disenfranchisement.

       112.    No adequate remedy at law is available to redress these irreparable harms.

                                  FIRST CAUSE OF ACTION

 Elections EO § 2(a) - Ultra Vires / Separation of Powers - Presidential Action in Excess of
     Authority; Usurping the Legislative Function; Violation of the Bicameralism and
                                     Presentment Clauses

                   (Against the President, the Commission, and Commissioners)
       113.    Plaintiff States restate and reallege paragraphs 1 to 112 as if fully set forth herein.




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        114.    Plaintiff States have a non-statutory right of action to enjoin and declare unlawful

official action that is ultra vires.

        115.    The Elections EO instructs the Commission to amend the Federal Form to require

documentary proof of citizenship. Elections EO, § 2(a). It also directs that State and local

elections officials be tasked with implementing the burdensome documentation requirements

associated with this provision. Id. § 2(a)(I)(B).

        116.    The Commission is a multimember, bipartisan body composed of experts in

elections and their administration. See 52 U.S.C. § 20923. To ensure its trustworthy and neutral
work, Congress established the Commission as an “independent entity.” Id. § 20921. Congress

also required the Commission to have a bipartisan majority to approve any action. Id. § 20928.

        117.    The President has no constitutional authority to interfere with State and

Congressional regulations of the times, places, and manner of elections, including voter

registration. See U.S. Const. art. I, § 4, art. II, § 1; ITCA, 570 U.S. at 8, 14–15. Where, as here,

the President takes action that undermines the authority and independence of Congress, his

action is properly struck down as violative of the constitutional separation of powers. The

Elections EO’s attempt to dictate policy and actions of the Commission in a manner inconsistent

with Congressional approval requirements is ultra vires and in excess of the President’s powers.

        118.    Because a substantive change to the Federal Form functions as a command to the

sovereign States, the Commission can change the Federal Form only upon “consultation with the

chief election officers of the States.” 52 U.S.C. § 20508(a)(2). And, like all Commission

decisions, such changes require the approval of at least three out of four Commissioners. Id.

§ 20928. Commission changes to the Federal Form must also be made through reasoned

decision-making subject to APA review. See id. §§ 20921, 20923, 20928; 5 U.S.C. § 706;

Newby, 838 F.3d at 11–12.
        119.    Regardless, Congress has never authorized the Commission’s creation of a

documentary proof of citizenship requirement on the Federal Form. In fact, in drafting the

NVRA, Congress determined that a documentary proof of citizenship requirement was “not


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necessary or consistent with the purposes of” the statute. H.R. Rep. No. 103–66, at 23–24

(1993).

          120.   The Commission may exercise only that authority which is conferred by statute.

See City of Arlington v. FCC, 569 U.S. 290, 297–98 (2013). By directing the Commission and

imposing duties on it that are not contained in federal law, the Elections EO attempts to amend,

repeal, rescind, or circumvent duly enacted federal statutes based on the President’s own policy

preferences. These actions exceed the President’s Article II powers, unconstitutionally infringe

upon Congress’s powers, and attempt to amend federal legislation while bypassing Article I’s
Bicameralism, Presentment, and Elections Clauses.

          121.   The Plaintiff States will be harmed by implementing these burdensome, harmful,

and costly requirements.

          122.   Pursuant to 28 U.S.C. § 2201, Plaintiff States are entitled to a declaration that

Section 2(a) of the Elections EO violates the separation of powers and impermissibly arrogates to

the Executive power that is reserved to Congress.

          123.   Plaintiff States are further entitled to a preliminary and permanent injunction

preventing the Commission and the Defendant Commissioners from enforcing or implementing

Section 2(a) of the Elections EO.

                                   SECOND CAUSE OF ACTION

    Elections EO § 2(a) - Ultra Vires / Contrary to Statute - Presidential Action in Excess of
       Authority; Usurping the Legislative Function; Violation of the Bicameralism and
                                      Presentment Clauses

       (By all Plaintiff States except Arizona Against the President, the Commission, and
                                         Commissioners) 3

          124.   Plaintiff States restate and reallege paragraphs 1 to 123 as if fully set forth herein.

          125.   Plaintiff States have a non-statutory right of action to enjoin and declare unlawful

official action that is ultra vires.


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    Due to unique requirements of Arizona law, Arizona does not join this cause of action.


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       126.    The Elections EO instructs the Commission to amend the Federal Form to require

documentary proof of citizenship. Elections EO, § 2(a). It also directs State and local elections

officials to implement the burdensome documentation requirements associated with this

provision. Id. § 2(a)(i)(B).

       127.    The Elections EO violates the substantive provisions of the NVRA, which permits

the Federal Form to “require only such identifying information (including the signature of the

applicant) and other information (including data relating to previous registration by the

applicant), as is necessary to enable the appropriate State election official to assess the eligibility
of the applicant and to administer voter registration and other parts of the election process.” 52

U.S.C. § 20508(b)(1).

       128.    The “statutory text is straightforward.” Newby, 838 F.3d at 10. If an aspect of the

Federal Form is “‘necessary’ to enforce voter qualifications, then the NVRA and probably the

Constitution require its inclusion; if not, the NVRA does not permit its inclusion and the

Constitution is silent.” Id. at 11; see also Tenn. Conf. of Nat’l Ass’n for Advancement of Colored

People v. Lee, 730 F. Supp. 3d 705, 740 (M.D. Tenn. 2024).

       129.    The President has no constitutional authority to interfere with State and

Congressional regulations of the times, places, and manner of elections, including voter

registration. See U.S. Const. art. I, § 4, art. II, § 1; ITCA, 570 U.S. at 8, 14–15. Where, as here,

the President takes action that undermines the authority and independence of Congress, his

action is properly struck down as violative of the constitutional separation of powers. The

Elections EO’s attempt to dictate policy and actions of the Commission in a manner inconsistent

with Congressional requirements is ultra vires and in excess of the President’s powers.

       130.    Congress has already decided that documentary proof of citizenship is not

“necessary” for identifying eligible voters. Citizenship is one aspect of a voter’s eligibility.
Under the NVRA, citizenship is proven through attestation: the Federal Form “shall include a

statement that” (a) “specifies” all voter eligibility requirements, “including citizenship”; (b)

“contains an attestation that the applicant meets each such requirement each such requirement;”


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and (c) “requires the signature of the applicant, under the penalty of perjury.” 52 U.S.C.

§ 20508(b)(2). In drafting the NVRA, Congress concluded that attestation under penalty of

perjury and criminal penalties were “sufficient safeguards to prevent noncitizens from registering

to vote.” S.Rep. No. 103–6, at 11 (1993). Indeed, the NVRA specifically prohibits including in

the Federal Form “any requirement for notarization or other formal authentication.” 52 U.S.C.

§ 20508(b)(3).

       131.      Nor has the Commission deemed documentary proof of citizenship “necessary”

for identifying eligible voters. To the contrary, the Commission has previously rejected that
proposition.

       132.      The Elections EO attempts to amend, repeal, rescind, or circumvent duly enacted

federal statutes based on the President’s own policy preferences. These actions exceed the

President’s Article II powers, unconstitutionally infringe upon Congress’s powers, and attempt to

amend federal legislation while bypassing Article I’s Bicameralism, Presentment, and Elections

Clauses.

       133.      The Plaintiff States will be harmed by this requirement, which would be

burdensome, harmful, and costly to implement and administer.

       134.      Pursuant to 28 U.S.C. § 2201, Plaintiff States are entitled to a declaration that

Section 2(a) of the Elections EO violates the separation of powers and impermissibly arrogates to

the Executive power that is reserved to Congress.

       135.      Plaintiff States are further entitled to a preliminary and permanent injunction

preventing the Commission and Defendant Commissioners from enforcing or implementing

Section 2(a) of the Elections EO.




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                                       THIRD CAUSE OF ACTION

 Elections EO § 3(d) - Ultra Vires / Separation of Powers - Presidential Action in Excess of
     Authority; Usurping the Legislative Function; Violation of the Bicameralism and
                                     Presentment Clauses

                       (Against the President and the Secretary of Defense)

        136.    Plaintiff States restate and reallege paragraphs 1 to 135 as if fully set forth herein.

        137.    Plaintiff States have a non-statutory right of action to enjoin and declare unlawful

official action that is ultra vires.

        138.    The Elections EO commands the Secretary of Defense to update the federal post

card application provided under UOCAVA to require documentary proof of citizenship and

proof of eligibility to vote in state elections. Elections EO § 3(d).

        139.    The President has no constitutional authority to interfere with State and

Congressional regulations of the times, places, and manner of elections, including voter

registration. See U.S. Const. art. I, § 4, art. II, § 1; ITCA, 570 U.S. at 8, 14–15. Where, as here,

the President takes action that undermines the authority and independence of Congress, his

action is properly struck down as violative of the constitutional separation of powers. The

Elections EO’s attempt to dictate policy in a manner inconsistent with Congressional

requirements is ultra vires and in excess of the President’s powers.
        140.    Congress has never authorized the Election EO’s additional requirements for the

“official post card form” prescribed by the Secretary of Defense under UOCAVA for military

and overseas voters to use to register to vote in federal elections. 52 U.S.C. § 20302(a)(4).

Nowhere in the Act is there a requirement that this form demand documentary proof of

citizenship or proof of eligibility to vote in elections in the State in which the applicant is
attempting to vote. Rather, the Act unequivocally grants military and overseas voters the ability

to register and cast a ballot “in the last place in which the person was domiciled before leaving

the United States.” Id. § 20310(5)(B).

        141.    By directing the Secretary of Defense to include requirements for the Federal Post

Card Application not contained in federal law, the Elections EO attempts to amend, repeal,


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rescind, or circumvent duly enacted federal statutes based on the President’s own policy

preferences. These actions exceed the President’s Article II powers, unconstitutionally infringe

upon Congress’s powers, and attempt to amend federal legislation while bypassing Article I’s

Bicameralism, Presentment, and Elections Clauses.

        142.    The Plaintiff States will be harmed by this requirement, which would be

burdensome and costly to implement and administer.

        143.    Pursuant to 28 U.S.C. § 2201, Plaintiff States are entitled to a declaration that

Section 3(d) of the Elections EO violates the separation of powers and impermissibly arrogates
to the Executive power that is reserved to Congress.

        144.    Plaintiff States are further entitled to a preliminary and permanent injunction

preventing the Secretary of Defense from enforcing or implementing Section 3(d) of the

Elections EO.

                                   FOURTH CAUSE OF ACTION

 Elections EO § 4(a) - Ultra Vires / Separation of Powers - Presidential Action in Excess of
     Authority; Usurping the Legislative Function; Violation of the Bicameralism and
                                     Presentment Clauses

                  (Against the President, the Commission, and Commissioners)

        145.    Plaintiff States restate and reallege paragraphs 1 to 144 as if fully set forth herein.

        146.    Plaintiff States have a non-statutory right of action to enjoin and declare unlawful

official action that is ultra vires.

        147.    The Elections EO orders the Commission to condition federal funding to States on

their acceptance of the Federal Form as unlawfully amended to require documentary proof of

citizenship. Elections EO, § 4(a).

        148.    The President has no constitutional authority to interfere with State and

Congressional regulations of the times, places, and manner of elections, including voter

registration. See U.S. Const. art. I, § 4, art. II, § 1; ITCA, 570 U.S. at 8, 14–15. Where, as here,




                                                  32
the President takes action that undermines the authority and independence of Congress, his

action is properly struck down as violative of the constitutional separation of powers.

       149.    The Commission is a multimember, bipartisan body composed of experts in

elections and their administration. See 52 U.S.C. § 20923. To ensure its trustworthy and neutral

work, Congress established the Commission as an “independent entity.” Id. § 20921. Congress

also required the Commission to have a bipartisan majority to approve any action. Id. § 20928.

The Elections EO’s attempt to dictate policy and actions of the Commission in a manner

inconsistent with Congressional approval requirements is ultra vires and in excess of the
President’s powers.

       150.    Nor has Congress authorized the Commission to withhold funds on these grounds.

To the contrary, it has specified the precise formula for calculating the grants that the

Commission administers and the conditions for those funds. 52 U.S.C. §§ 21001–21003,

21142(c)(1). Plaintiff States are statutorily entitled to those funds upon satisfaction of the

requirements of the program under which the funds are provided.

       151.    The Commission may exercise only that authority which is conferred by statute.

See City of Arlington, 569 U.S. at 297–98. By directing the Commission and imposing duties on

it that are not contained in federal law, the Elections EO attempts to amend, repeal, rescind, or

circumvent duly enacted federal statutes based on the President’s own policy preferences. These

actions exceed the President’s Article II powers, unconstitutionally infringe upon Congress’s

powers, and attempt to amend federal legislation while bypassing Article I’s Bicameralism,

Presentment, and Elections Clauses.

       152.    This unlawful order will harm the Plaintiff States by targeting them for loss of

federal funding.

       153.    Pursuant to 28 U.S.C. § 2201, Plaintiff States are entitled to a declaration that
Section 4(a) of the Elections EO violates the separation of powers and impermissibly arrogates to

the Executive power that is reserved to Congress.




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        154.    Plaintiff States are further entitled to a preliminary and permanent injunction

preventing the Commission and the Defendant Commissioners from enforcing or implementing

Section 4(a) of the Elections EO.

                                       FIFTH CAUSE OF ACTION

 Elections EO § 7(a) - Ultra Vires / Separation of Powers - Presidential Action in Excess of
     Authority; Usurping the Legislative Function; Violation of the Bicameralism and
      Presentment Clauses; Violation of the Elections Clause and the Electors Clause

                         (Against the President and the Attorney General)

        155.    Plaintiff States restate and reallege paragraphs 1 to 154 as if fully set forth herein.

        156.    Plaintiff States have a non-statutory right of action to enjoin and declare unlawful

official action that is ultra vires.

        157.    The Elections EO directs the Attorney General to “take all necessary action to

enforce” federal statutes setting the date of federal elections against States that purportedly

“violate these provisions” by counting absentee or vote-by-mail ballots received after Election

Day “in the final tabulation of votes for” federal office, adopting a draconian and incorrect rule

that would preclude States from counting ballots that arrive after Election Day, even if they were

mailed on or before that day. Elections EO, § 7(a).

        158.    The President has no constitutional authority to interfere with State and

Congressional regulations of the times, places, and manner of elections, including voter

registration. See U.S. Const. art. I, § 4, art. II, § 1; ITCA, 570 U.S. at 8, 14–15. Where, as here,

the President takes action that undermines the authority and independence of Congress, or

invades the constitutional and statutory rights of the States, his action is properly struck down as

violative of the constitutional separation of powers.

        159.    The Elections EO attempts to direct the Attorney General to adopt and enforce an

interpretation of the federal Election Day statutes, 2 U.S.C. § 7 and 3 U.S.C. § 1, that conflicts

with State laws allowing for votes validly cast by Election Day but received after that date to be
counted. The President has no legal authority to amend the Election Day statues to prohibit the



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counting of ballots validly cast under State law, nor to direct the Attorney General to enforce his

erroneous interpretation of federal law against States.

       160.    By directing the Attorney General to enforce the President’s incorrect

interpretation of federal law, the Elections EO attempts to amend, repeal, rescind, or circumvent

duly enacted federal statutes based on the President’s own policy preferences. These actions

exceed the President’s Article II powers, unconstitutionally infringe upon Congress’s powers,

and attempt to amend federal legislation while bypassing Article I’s Bicameralism, Presentment,

and Elections and Electors Clauses.
       161.    This unlawful order harms Plaintiff States by the imminent threat of enforcement

by the Attorney General. There is an actual controversy about whether Plaintiff States can count

ballots that are received after Election Day. Plaintiff States intend to administer federal elections

according to State laws, notwithstanding that many of those laws directly conflict with the

Elections EO’s incorrect interpretation of the federal Election Day statutes. The Elections EO

directs the Attorney General to take all appropriate actions to enforce the Elections EO’s

incorrect interpretation, establishing an actual controversy and a credible threat of civil

prosecution.

       162.    Pursuant to 28 U.S.C. § 2201, Plaintiff States are entitled to a declaration that

Section 7(a) of the Elections EO violates the separation of powers and impermissibly arrogates to

the Executive power that is reserved to Congress and the Plaintiff States.

       163.    Pursuant to 28 U.S.C. § 2201, Plaintiff States are entitled to a declaration that the

federal Election Day statutes do not preclude the Plaintiff States from enacting and implementing

State laws that allow for counting a timely cast ballot received after Election Day.

       164.    Plaintiff States are further entitled to a preliminary and permanent injunction

preventing the Attorney General from enforcing or implementing Section 7(a) of the Elections
EO.




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                                       SIXTH CAUSE OF ACTION

 Elections EO § 7(b) - Ultra Vires / Separation of Powers - Presidential Action in Excess of
     Authority; Usurping the Legislative Function; Violation of the Bicameralism and
                                     Presentment Clauses

                  (Against the President, the Commission, and Commissioners)

        165.    Plaintiff States restate and reallege paragraphs 1 to 164 as if fully set forth herein.

        166.    Plaintiff States have a non-statutory right of action to enjoin and declare unlawful

official action that is ultra vires.

        167.    The Elections EO requires the Commission to condition federal funding on

Plaintiff States’ acquiescence to an incorrect interpretation of federal Election Day statutes that

would preclude Plaintiff States from counting ballots that arrive after Election Day, even if they

were mailed on or before that day. Elections EO, § 7(b).

        168.    The President has no constitutional authority to interfere with State and

Congressional regulations of the times, places, and manner of elections, including voter

registration. See U.S. Const. art. I, § 4, art. II, § 1; ITCA, 570 U.S. at 8, 14–15. Where, as here,

the President takes action that undermines the authority and independence of Congress, his

action is properly struck down as violative of the constitutional separation of powers.

        169.    The Commission is a multimember, bipartisan body composed of experts in
elections and their administration. See 52 U.S.C. § 20923. To ensure its trustworthy and neutral

work, Congress established the Commission as an “independent entity.” Id. § 20921. Congress

also required the Commission to have a bipartisan majority to approve any action. Id. § 20928.

The Elections EO’s attempt to dictate policy and actions of the Commission in a manner

inconsistent with Congressional approval requirements is ultra vires and in excess of the
President’s powers.

        170.    Nor has Congress authorized the Commission to withhold funds on these grounds.

To the contrary, it has specified the precise formula for calculating the grants that the

Commission administers and the conditions for those funds. 52 U.S.C. §§ 21001–21003; see




                                                  36
also 21142(c)(1). Plaintiff States are statutorily entitled to those funds upon satisfaction of the

requirements of the program under which the funds are provided.

       171.    Moreover, outside of specified duties regarding the design and issuance of the

Federal Form, the Commission does not have “any authority to issue any rule, promulgate any

regulation, or take any other action which imposes any requirement on any State or unit of local

government,” such as adopting the draconian position insisted upon in the Elections EO. Id.

§ 20929.

       172.    The Commission may exercise only that authority which is conferred by statute.
See City of Arlington, 569 U.S. at 297–98. By directing the Commission and imposing duties on

it that are not contained in federal law, the Elections EO attempts to amend, repeal, rescind, or

circumvent duly enacted federal statutes based on the President’s own policy preferences. These

actions exceed the President’s Article II powers, unconstitutionally infringe upon Congress’s

powers, and attempt to amend federal legislation while bypassing Article I’s Bicameralism,

Presentment, and Elections Clauses.

       173.    This unlawful order will harm Plaintiff States by targeting them for loss of federal

funding.

       174.    Pursuant to 28 U.S.C. § 2201, Plaintiff States are entitled to a declaration that

Section 7(b) of the Elections EO violates the separation of powers and impermissibly arrogates

to the Executive power that is reserved to Congress.

       175.    Plaintiff States are further entitled to a preliminary and permanent injunction

preventing the Commission and the Defendant Commissioners from enforcing or implementing

Section 7(b) of the Elections EO.

                                SEVENTH CAUSE OF ACTION

 All Challenged Provisions – Separation of Powers / Intrusion on States’ Election Powers
 Granted by Article I, Section 4 and Article II, Section 1 of the United States Constitution

                                     (Against All Defendants)

       176.    Plaintiff States restate and reallege paragraphs 1 to 175 as if fully set forth herein.


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        177.    The Constitution “invests the States with responsibility for the mechanics of

[federal] elections, but only so far as Congress declines to preempt legislative choices.” Foster,

522 U.S. at 69 (citations omitted); see also U.S. Const. art. I, § 4, cl. 1; Art. II, § 1, cl. 2. It is

“solicitous of the prerogatives of the States, even in an otherwise sovereign federal province”

because “the Framers recognized that state power and identity were essential parts of the federal

balance.” U.S. Term Limits, Inc. v. Thornton, 514 U.S. 779, 841 (1995).

        178.    The President has no constitutional authority to interfere with State and

Congressional regulations of the times, places, and manner of elections, including voter
registration. See U.S. Const. art. I, § 4, art. II, § 1; ITCA, 570 U.S. at 8, 14–15. Where, as here,

the President takes action that undermines the authority and independence of Congress, his

action is properly struck down as violative of the constitutional separation of powers. For the

same reasons, where the President takes action unauthorized by the Constitution or statute that

undermines the constitutional powers of the States, his action is properly struck down as

violative of the vertical separation of powers.

        179.    Plaintiff States have a non-statutory right of action to enjoin and declare unlawful

official action that commandeers State executive power or otherwise intrudes on Plaintiff States’

inherent sovereignty and powers granted by the Constitution. In the Elections EO, the President

invades Plaintiff States’ sovereignty and their powers to regulate federal elections by Presidential

fiat and commandeers State election administrative personnel and processes to implement a

Presidential decree.

        180.    Pursuant to their constitutional authority, Plaintiff States have each enacted

statutes governing elections, and each maintains a complex administrative apparatus to carry out

federal elections. The Elections EO purports to overwrite State laws, regulations, and processes

relevant to registration, voting systems, and ballot counting. But it is Congress, not the
Executive, in which the Constitution vests the power to “make or alter” State regulations

governing federal elections. See U.S. Const., art. I, § 4. The Elections EO goes far beyond any

statute lawfully enacted by Congress.


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       181.    The Elections EO conditions critical funding streams on Plaintiff States’

capitulation to its new and unlawful rules. It thus seeks to control Plaintiff States’ exercise of

their sovereign powers through raw Executive domination, contrary to the Constitution and its

underlying principles of federalism and the separation of powers.

       182.    Pursuant to 28 U.S.C. § 2201, Plaintiff States are entitled to a declaration that the

Challenged Provisions of the Elections EO violates the separation of powers, intrudes on

Plaintiff States’ sovereignty and the election powers granted to them by Article I, Section 4 and

Article II, Section 1 of the Constitution, and unconstitutionally commandeers States’ executive
powers to implement a Presidential decree.

       183.    Plaintiffs are further entitled to a preliminary and permanent injunction preventing

all Defendants, except the President, from enforcing or implementing the Challenged Provisions

of the Elections EO.

                                     PRAYER FOR RELIEF
      WHEREFORE, Plaintiff States pray that this Court:

       1.      Issue a judicial declaration that the Challenged Provisions of the Elections EO are

unconstitutional and void, because they are ultra vires and violate both the separation of powers

and the States’ sovereignty and elections power under the United States Constitution;

       2.      Preliminarily and permanently enjoin all Defendants, except President Trump,

from implementing or enforcing the Challenged Provisions of the Elections EO;

       3.      Award Plaintiff States their reasonable fees, costs, and expenses, including

attorneys’ fees; and

       4.      Grant any other relief as this Court may deem just and proper.




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Dated: April 3, 2025                               Respectfully Submitted,

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*Pro hac vice applications forthcoming




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